19-13223-dsj      Doc 38    Filed 01/07/20 Entered 01/07/20 14:43:44            Main Document
                                         Pg 1 of 54



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 Counsel for the Debtor

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------x
                                    :
In re:                              :                    Chapter 11
                                    :
WANSDOWN PROPERTIES CORPORATION :                        Case No.: 19-13223 (SMB)
N.V.,                               :
                                    :
               Debtor.              :
------------------------------------x

                 MOTION PURSUANT TO 11 U.S.C. §§ 363 AND 365
               AND FED. R. BANKR. P. 2002 AND 6004 FOR AN ORDER
            APPROVING THE SALE OF THE DEBTOR’S REAL PROPERTY

       Wansdown Properties Corporation N.V. (the “Debtor”), the debtor and debtor in

possession herein, by its counsel, Rubin LLC, hereby submits this motion (the “Motion”) for entry

of an order substantially in the form annexed hereto as Exhibit “A” (the “Sale Order”) authorizing

and approving the sale of the Debtor’s real property located at 29 Beekman Place, New York, New

York 10022 (the “Property”) to 29 Beekman Corp. (the “Purchaser”) under that certain Residential

Contract of Sale dated September 25, 2019 (together with exhibits and riders thereto, the “Purchase

Agreement”), pursuant to sections 363 and 365 of title 11 of the United States Code (the

“Bankruptcy Code”), Rules 2002 and 6004 of the Federal Rules of Bankruptcy Procedure (the

“Bankruptcy Rules”), and the Sale Guidelines for the Conduct of Asset Sales, General Order M-




                                                1
19-13223-dsj       Doc 38     Filed 01/07/20 Entered 01/07/20 14:43:44          Main Document
                                           Pg 2 of 54



383 (the “Sale Guidelines”). In support of this Motion, the Debtor respectfully represents as

follows:

                                        BACKGROUND

        1.      On October 8, 2019 (the “Petition Date”), the Debtor filed a voluntary petition for

relief under chapter 11 of the Bankruptcy Code in this Court, and an order for relief under section

301 of the Bankruptcy Code was entered in this case (the “Chapter 11 Case”).

        2.      The Debtor has been authorized to remain in possession of its property and to

continue in the operation and management of its business as a debtor in possession pursuant to

sections 1107 and 1108 of the Bankruptcy Code.

        3.      No official committee of unsecured creditors has been appointed by the Office of

the United States Trustee for the Southern District of New York (the “U.S. Trustee”) in the Chapter

11 Case.

The Property

        4.      The Debtor was incorporated in 1979 under the laws of Curacao, in accordance

with Article 38 of the Commercial Code of the Netherlands Antilles and continues to exist under

the laws of the Netherland Antilles. The Debtor was formed to, among other things, invest and

manage assets of Princess Achraf Pahlavi. In 1980, the Debtor acquired the Property, which the

Princess used on those occasions she visited New York after she fled Iran due to the Iranian

revolution.

        5.      The Property is encumbered by a mortgage in favor of National Investment Bank

(N.A.) (the “Mortgage Lender”). The Mortgage Lender has filed a proof of claim in the Chapter

11 Case asserting a fully secured claim in the amount of $5,627,088.52, inclusive of interest,

default interest, and fees.




                                                 2
19-13223-dsj       Doc 38   Filed 01/07/20 Entered 01/07/20 14:43:44            Main Document
                                         Pg 3 of 54



       6.      The Property is vacant and does not have any tenants. The Property does not

generate any operating revenue.

Pre-Petition Marketing of the Property

       7.      During the final years of her life, the Princess’s advanced age and deteriorating

health resulted in the Princess spending limited time in New York. Consequently, the Debtor

determined that it would not need to keep the Property, and that it would be prudent to reduce its

expenses associated with the Property and staffing to maintain the Property. Thus, beginning in

2014, the Debtor marketed the Property for sale. However, the Debtor was unable to sell the

Property, and the Debtor terminated the listing and removed the Property from the market.

       8.      The Princess died in January 2016. Thereafter, the Debtor resumed its marketing

of the Property.

       9.      In December 2017, the Debtor entered into a contract for the sale of the Property to

Secured Capital Partners, LLC (“SCP”) for the purchase price of $17 million. SCP, however,

failed to make any of the down payments or otherwise perform as required under its contract, and

the Debtor was forced to terminate the contract. SCP sued for specific performance and filed a lis

pendens against the Property, creating a cloud on title and preventing the Debtor from effectively

marketing the Property for sale to a legitimate buyer. On April 3, 2019, the New York State

Supreme Court dismissed the SCP action for specific performance and cancelled the lis pendens.

       10.     The Debtor then worked with Charlie Attias, a licensed real-estate broker at the

Corcoran Group, to market and sell the Property. Mr. Attias was selected based upon his

experience selling similar town houses and his international background. Mr. Attias listed the

Property for $17,995,000. Given that the Property is situated near the United Nations, the Property

was marketed primarily to wealthy internationals and foreign governments as potential embassy

space. Several embassies viewed the Property, but none made an offer.


                                                3
19-13223-dsj      Doc 38     Filed 01/07/20 Entered 01/07/20 14:43:44           Main Document
                                          Pg 4 of 54



       11.     In or around September 2019, Mr. Attias left Corcoran Group and began working

at Compass. After joining Compass, Mr. Attias used Compass’s resources to market the Property.

As a result of this process, the Property garnered interest from a number of potential buyers, but

Mr. Attias was unable to procure any binding offers. Ultimately, the Debtor received one binding

offer directly from the Purchaser in the amount of $10,300,000. The offer from the Purchaser was

not obtained through Mr. Attias, Corcoran, or Compass.

The Purchase Agreement

       12.     Following the Debtor’s receipt of the Purchaser’s offer, the Debtor, in consultation

with its advisors, negotiated the Purchase Agreement at arms’ length. A copy of the Purchase

Agreement is annexed hereto as Exhibit B.

       13.     The Purchase Agreement contains the following material economic terms: (a) the

purchase price for the Property is $10,300,000, (b) the closing on the sale of the Property will

occur on or before January 31, 2020, and (c) the Purchaser has agreed to deliver a cash deposit of

$1,030,000, which has been provided by the Purchaser.

       14.     The Purchaser is an unrelated third party. Neither the Debtor nor its president (Mr.

Golsorkhi) owns any interest in the Purchaser directly or indirectly.

The Scheduled Sheriff’s Sale

       15.     At the time that the Debtor was attempting to market and sell the Property, as

described above, the Debtor also was contending with litigation commenced by Azadeh Nasser

Azari, a former employee of the Debtor.

       16.     On April 21, 2016, the Clerk of the New York Supreme Court for the County of

New York (the “State Court”) entered a judgment in favor of Ms. Azari and against the Debtor in

the principal amount of $2.7 million, based on a confession of judgment. On February 13, 2017,

the Debtor commenced a plenary action seeking to vacate the judgment by filing a complaint (the


                                                 4
19-13223-dsj      Doc 38     Filed 01/07/20 Entered 01/07/20 14:43:44             Main Document
                                          Pg 5 of 54



“Complaint”) in the State Court. On April 3, 2017, Ms. Azari moved to dismiss the Complaint.

Following oral argument, on October 17, 2017, the State Court issued a ruling denying the motion.

Ms. Azari appealed. On October 23, 2018, the Supreme Court, Appellate Division, reversed the

State Court decision and entered a judgment against the Debtor. In its decision, the appellate court

found that the Debtor’s managing director had the authority to execute the confession of judgment

on behalf of the Debtor and, as such, the judgment was proper. On July 8, 2019, Ms. Azari sought

to enforce the judgment through a writ of execution. A sheriff’s sale with respect to the Property

was scheduled for October 9, 2019, at 11:00 a.m.

       17.     Because a sheriff’s sale of the Property would result in a depressed purchase price,

and because the Debtor had a binding Purchase Agreement with the Purchaser for a sale of the

Property on terms acceptable to the Debtor, the Debtor commenced the Chapter 11 Case on

October 8, 2019, to prevent the sheriff sale from proceeding.

       18.     Ms. Azari has filed a proof of claim in the Chapter 11 Case, asserting a fully secured

claim in the amount of $3,605,152.23, inclusive of interest and expenses.

                                  PROCEDURAL POSTURE

       19.     At the Debtor’s initial case conference held on November 14, 2019, counsel for the

Debtor advised the Court of the Purchase Agreement, the terms thereof (including the requirement

that the closing on the sale of the Property occur on or before January 31, 2020), and the Debtor’s

contemplation that proceeds from the sale of the Property would be used to pay all creditors in full

under a chapter 11 plan (other than the claim of an insider anticipated to be voluntarily

subordinated to facilitate confirmation). The Court stated at the hearing that it would approve a

disclosure statement on a preliminary basis and schedule a combined hearing to consider final

approval of the disclosure statement and confirmation of a chapter 11 plan.




                                                 5
19-13223-dsj         Doc 38       Filed 01/07/20 Entered 01/07/20 14:43:44                     Main Document
                                               Pg 6 of 54



        20.      On December 2, 2019, the Debtor filed its Chapter 11 Plan dated December 2,

2019, and a corresponding disclosure statement. The Court scheduled a hearing on December 6,

2019, to address its concerns regarding the Chapter 11 Plan. Following the December 6th hearing,

and to address the concerns raised by the Court, the Debtor filed its Modified Chapter 11 Plan

dated December 9, 2019 (the “Plan”) [ECF No. 30] and related disclosure statement dated

December 9, 2019 (the “Disclosure Statement”) [ECF No. 31].

        21.      Pursuant to the Plan, the Property was to be sold to the Purchaser in accordance

with the terms of the Purchase Agreement. The proceeds from the sale of the Property were

anticipated to be sufficient to pay in full all allowed administrative and other unclassified claims,

as well as the claims of creditors in Class 1 (Other Priority Claims), Class 2 (Real Property Tax

Claims), Class 3 (Secured Claims), and Class 4 (General Unsecured Claims). The sale proceeds

were also anticipated to be sufficient to reserve the full amount of all disputed claims pending

disposition of such disputed claims. For the purposes of the Plan, Mr. Golsorkhi indicated his

willingness to subordinate his general unsecured claim in the amount of $7,480,000 (the

“Subordinated Claim”)1 in Class 5 (Subordinated Unsecured Claims), which would enable

payment in full of general unsecured claims in Class 4. Accordingly, no class of creditors was

impaired under the Plan, and the Debtor would not be required to solicit votes for acceptance or

rejection of the Plan.

        22.      On December 12, 2019, the Court entered an order (the “Disclosure Statement

Order”) [ECF No. 32] preliminarily approving the Disclosure Statement and scheduling a

combined hearing on final approval of the Disclosure Statement and confirmation of the Plan for

January 14, 2020 (the “Scheduled Confirmation Hearing”).


1 Mr. Golsorkhi also continues to accrue post-petition deferred compensation for his continued services as an
employee of the Debtor.


                                                         6
19-13223-dsj      Doc 38    Filed 01/07/20 Entered 01/07/20 14:43:44            Main Document
                                         Pg 7 of 54



         23.   On December 12, 2019, the Debtor served the Disclosure Statement Order, notice

of the Scheduled Confirmation Hearing, and the Disclosure Statement (including the Plan and the

Purchase Agreement attached as exhibits) on all creditors and parties in interest in the Chapter 11

Case. See Certificate of Service filed December 12, 2019 [ECF No. 33]. Since that time, the

Debtor has been working diligently to prepare for plan confirmation.

         24.   Without any prior notice or warning, however, the Debtor’s sole shareholder,

Pelmadulla Stiftung, Vaduz (“Pelmadulla”) filed a proof of claim on December 31, 2019 (the bar

date established by the Court was December 31, 2019) asserting a claim in the amount of

$3,243,941.19 based on a purported loan that was never documented. The Debtor does not believe

the Pelmadulla claim is a valid claim against the Debtor and the Debtor intends to object to the

claim.

         25.   The Debtor, however, has determined that Pelmadulla’s assertion of a general

unsecured claim against the Debtor for over $3.2 million (no matter how unsubstantiated) will not

permit the Debtor to proceed with confirmation of the Plan, as proposed without modification, in

time to close on the Sale of the Property by January 31, 2020. The proceeds from the sale of the

Property (after payment of the Mortgage Lender claim and reserving for the full amount of the

disputed Azari claim) will no longer be sufficient to pay all allowed general unsecured claims in

full and to reserve cash in the full amount of disputed general unsecured claims. Nor does the

Debtor believe that litigation to expunge or recharacterize the Pelmadulla claim can be completed

prior to the Scheduled Confirmation Hearing. Meanwhile, the deadline to close on the sale of the

Property remains at January 31, 2020, pursuant to the Purchase Agreement. Although counsel for

the Debtor has communicated with counsel to the Purchaser to request an extension of time to




                                                7
19-13223-dsj        Doc 38   Filed 01/07/20 Entered 01/07/20 14:43:44              Main Document
                                          Pg 8 of 54



close, the Debtor has not received consent at this time. Critically, the Debtor continues to accrue

the carrying costs for the Property, including default interest to the Mortgage Lender.

       26.     As a result of the unanticipated and significant increase in general unsecured claims

asserted against the Debtor, the Debtor seeks now to proceed with a sale of the Property under

section 363 of the Bankruptcy Code, as set forth in this Motion. The Purchase Agreement itself

contemplates that, should the Debtor be unable to proceed with a sale of the Property under a

chapter 11 plan, the parties agreed that the Debtor would seek to sell the property in a section 363

sale. See Purchase Agreement at ¶ 51(a). Although the Debtor believes it must proceed with the

Sale Motion at this time in the interest of preserving value, the Debtor will continue to

communicate with parties in interest to attempt to move forward under the Plan on a parallel track.

Whether the Debtor proceeds with a section 363 sale or a sale under the Plan, the Debtor intends

to seek authorization to pay the Mortgage Lender in full at closing.

       27.     The Debtor further seeks to expedite the hearing on the sale of the Property, so that

it can be held on the Scheduled Confirmation Hearing. As set forth more fully in the motion to

shorten time filed contemporaneously herewith, the circumstances here warrant scheduling the

hearing on this Motion for the date of the Scheduled Confirmation Hearing, because all creditors

and parties in interest have been made aware that the Debtor has intended from the commencement

of the Chapter 11 Case to sell the Property to the Purchaser, and the hearing to consider approval

of the sale as part of the Plan has already been scheduled for January 14, 2020.

             EXTRAORDINARY PROVISIONS UNDER SALE GUIDELINES

       28.     The Purchase Agreement and this Motion contain the following “extraordinary

provisions” as set forth in Section I.D of the Sale Guidelines:

               a.      Private Sale/No Competitive Bidding. The Purchaser has stated that it is
                       unwilling to proceed with the transaction if the sale of the Property is subject
                       to competing bids. Under the facts and circumstances of this case, the


                                                  8
19-13223-dsj    Doc 38   Filed 01/07/20 Entered 01/07/20 14:43:44              Main Document
                                      Pg 9 of 54



                   Debtor believes that a private sale to the Purchaser pursuant to the terms of
                   the Purchase Agreement is appropriate. The Property has been on the
                   market since 2014, but no party, other than SCP (which sale could not be
                   consummated and resulted in a cloud on title) and the Purchaser have
                   submitted binding offers for the Property.

           b.      Deadlines that Effectively Limit Notice. The Debtor will seek to expedite
                   the hearing on this Motion to the January 14, 2020 hearing date originally
                   scheduled for plan confirmation, so that a closing can occur by the January
                   31, 2020 deadline under the Purchase Agreement. Although notice of the
                   hearing on the Motion itself will be less than the 21 days provided in the
                   Bankruptcy Rules and Sale Guidelines, the sale of the Property was
                   contemplated in the Debtor’s Modified Chapter 11 Plan and described in
                   the corresponding disclosure statement. Copies of the plan and disclosure
                   statement (which included the Purchase Agreement as an exhibit) were
                   served on all creditors on December 12, 2019, which is more than a month
                   prior to the scheduled plan confirmation hearing on January 14, 2020. The
                   motion to shorten time with respect to a hearing on this Motion provides
                   additional details regarding the Debtor’s request for an expedited hearing.

           c.      Use of Proceeds. The Debtor seeks authorization to pay off the Mortgage
                   Lender at closing without further order of the Court, to avoid diminution of
                   its estate. Because the Mortgage Lender is over-secured, its secured claim
                   continues to accrue default interest and fees until it is paid. The Mortgage
                   Lender has a valid, perfected, first-priority lien on the Property, and its lien
                   would otherwise attach to the proceeds of the sale of the Property.
                   Accordingly, the passage of time and accrual of additional interests and fees
                   would only serve to diminish the proceeds available to distribute to other
                   creditors. Moreover, after payment of the Mortgage Lender’s claim, there
                   would still be enough sale proceeds to reserve for the full amount of the
                   disputed secured claim asserted by Azari based on the judgment obtained in
                   the State Court. Thus, no creditor is prejudiced by the payment of the
                   Mortgage Lender’s claim at closing, and indeed, the prompt payment of its
                   claim will inure to the benefit of all general unsecured creditors.

           d.      Record Retention. The Property is the Debtor’s sole significant asset, and
                   thus the sale will be for substantially all of the assets of the Debtor. The
                   Debtor, however, will retain its books and records to enable it to administer
                   the Chapter 11 Case.

           e.      Requested Findings as to Successor Liability. The proposed Sale Order
                   contains findings of fact and conclusions of law limiting the Purchaser’s
                   successor liability. These provisions were requested by the Purchaser as
                   provided in the Purchase Agreement.

           f.      Relief from Bankruptcy Rule 6004(b). The Debtor seeks relief from the 14-
                   day stay imposed by Bankruptcy Rule 6004(b) in order to promptly


                                              9
19-13223-dsj       Doc 38    Filed 01/07/20 Entered 01/07/20 14:43:44              Main Document
                                          Pg 10 of 54



                       consummate the sale within the closing deadline set forth in the Purchase
                       Agreement. The Motion discloses in greater detail the basis for such a
                       request.

                                     RELIEF REQUESTED

          29.   By this Motion, pursuant to sections 363 and 365 of the Bankruptcy Code,

Bankruptcy Rules 2002 and 6004, and the Sale Guidelines, the Debtor seeks entry of the Sale

Order, authorizing and approving (i) assumption of the Purchase Agreement, and (ii) the sale of

the Property to the Purchaser, free and clear of liens, claims, interests and other encumbrances,

with any such liens, claims, interests and encumbrances attaching to the proceeds of the sale.

                              BASIS FOR RELIEF REQUESTED

          30.   Ample authority exists for approval of the sale of the Property. Pursuant to section

363(b)(1) of the Bankruptcy Code, the debtor-in-possession, “after notice and a hearing, may use,

sell, or lease, other than in the ordinary course of business, property of the estate.” 11 U.S.C.

§ 363(b)(1). “Although not specified by section 363, the Second Circuit requires that transactions

under section 363 be based on the sound business judgment of the debtor or trustee.” In re MF

Global, Inc., 467 B.R. 726, 730 (Bankr. S.D.N.Y. 2012) (citing Comm. of Equity Sec. Holders v.

Lionel Corp. (In re Lionel Corp.), 722 F.2d 1063, 1071 (2d Cir. 1983)). “Generally, where the

debtor articulates a reasonable basis for its business decisions (as distinct from a decision made

arbitrarily or capriciously), courts will generally not entertain objections to the debtor’s conduct.”

MF Global, 467 B.R. at 730 (citing In re Johns-Manville Corp., 60 B.R. 612, 616 (Bankr. S.D.N.Y.

1986)).     “If a valid business justification exists, then a strong presumption follows that the

agreement at issue was negotiated in good faith and is in the best interests of the estate; the burden

of rebutting that presumption falls to parties opposing the transaction.” MF Global, 467 B.R. at

730. “Once a court determines that a sound business justification exists, the court must determine

whether (i) the debtor has provided all interested parties with adequate and reasonable notice,


                                                 10
19-13223-dsj       Doc 38     Filed 01/07/20 Entered 01/07/20 14:43:44              Main Document
                                           Pg 11 of 54



(ii) the sale price is fair and reasonable, and (iii) the purchaser is proceeding in good faith.” Id. at

730.

A.     Business Justification for the Sale

       31.     “The overriding consideration for approval of a section 363 sale is whether a good

business reason has been articulated.” In re GSC Group, Inc., 453 B.R. 132, 173 (Bankr. S.D.N.Y.

2011). In determining whether the debtor has articulated a good business reason for the sale, the

Second Circuit has set forth a nonexclusive list of factors to consider, including (i) the

proportionate value of the asset to the estate as a whole, (ii) the amount of elapsed time since the

filing, (iii) the likelihood that a plan of reorganization will be proposed and confirmed in the near

future, (iv) the effect of the proposed disposition on future plans of reorganization, (v) the proceeds

to be obtained from the disposition vis-à-vis any appraisals of the property, (vi) which of the

alternatives of use, sale or lease the proposal envisions, and (vii) whether the asset is increasing or

decreasing in value. Lionel, 722 F.2d at 1071. Additional factors include whether the estate has

the liquidity to survive until confirmation of a plan; whether the sale opportunity will still exist as

of the time of plan confirmation, and if not, how likely it is that there will be a satisfactory

alternative sale opportunity, or a standalone plan alternative that is equally desirable (or better) for

creditors; and whether there is a material risk that by deferring the sale, “the patient will die on the

operating table.” Boston Generating, 440 B.R. 302, 322 (Bankr. S.D.N.Y. 2010) (citing In re Gen.

Motors Corp., 407 B.R. 463, 490 (Bankr. S.D.N.Y. 2009)).

       32.     In this regard, the debtor’s decision-making is reviewed through the lens of the

business judgment rule, which is a “presumption that in making a business decision the directors

of a corporation acted on an informed basis, in good faith and in the honest belief that the action

taken was in the best interests of the company.” Id. at 174; see also In re Boston Generating, LLC,

440 B.R. at 330 (“The business judgment rules entails (1) a business decision,


                                                  11
19-13223-dsj         Doc 38   Filed 01/07/20 Entered 01/07/20 14:43:44              Main Document
                                           Pg 12 of 54



(2) disinterestedness, (3) due care, (4) good faith, and (5) according to some courts and

commentators, no abuse of discretion or waste of corporate assets.”).

       33.     Here, the sale of the Property to the Purchase is a sound exercise of the Debtor’s

business judgment. The Debtor has determined, in its business judgment, that the sale of the

Property to the Purchaser under the terms of the Purchase Agreement is the highest and best offer

based on the following considerations:

               (a)      Pre-petition, the Debtor has extensively marketed the Property since 2014.

               (b)      Since the Property was first marketed for sale in 2014, the Debtor has been
                        unable to obtain binding offers from any interested party, other than from
                        SCP (which sale could not be consummated and resulted in a cloud on title),
                        and from the Purchaser.

               (c)      Even after applying the considerable marketing resources of the Corcoran
                        Group and Compass, there have been no binding offers for the Property
                        from any party other than the Purchaser. Following the commencement of
                        the Chapter 11 Case, the Debtor received inquiries regarding the Property,
                        but no offers were submitted.

               (d)      The Property was subject to a sheriff’s sale, which would have resulted in a
                        sale of the Property at a much lower purchase price than under the Purchase
                        Agreement.

               (e)      The Debtor is continuing to incur the carrying costs of the Property,
                        including debt service to the mortgage lender, real estate taxes,
                        maintenance, repair, and utilities. Absent a sale to the Purchaser, these costs
                        would continue to accrue on the Property, which does not generate any
                        revenue, and which does not appear to be increasing in value. The Debtor
                        does not want to lose this sale.

               (f)      The Debtor cannot continue to operate post-petition without selling the
                        Property and using the proceeds of the sale to fund a plan.

       34.     Accordingly, the Debtor has shown a sound business purpose for the sale that

should be upheld by the Court after applying the business judgment rule.




                                                  12
19-13223-dsj      Doc 38     Filed 01/07/20 Entered 01/07/20 14:43:44            Main Document
                                          Pg 13 of 54



B.      Assumption of the Purchase Agreement

        35.    Section 365(a) of the Bankruptcy Code provides that a debtor in possession “subject

to the court’s approval, may assume or reject any executory contract or unexpired lease of the

debtor.” 11 U.S.C. § 365(a). Upon finding that a debtor has exercised its sound business judgment

in determining to assume an executory contract or unexpired lease, courts will approve the

assumption under section 365(a) of the Bankruptcy Code. See Nostas Assocs. v. Costich (In re

Klein Sleep Prods., Inc.), 78 F.3d 18, 25 (2d Cir. 1996); Orion Pictures Corp. v. Showtime

Networks, Inc. (In re Orion Pictures Corp.), 4 F.3d 1095, 1099 (2d Cir. 1993).

        36.    The Debtor respectfully submits that it satisfies the business judgment test under

section 365(a) for the same reasons the Debtor satisfies the test in the context of section 363(b),

discussed above. Assumption of the Purchase Agreement is in the best interests of the Debtor, its

estate and creditors, because the proceeds generated from the sale of the Property to the Purchaser

under the Purchase Agreement represents the highest and best offer for the Property, and will allow

the Debtor fund a chapter 11 plan. The Debtor believes that it would be a mistake to abandon the

Purchase Agreement, and create a contract rejection damage claim with no alternative transaction

in sight.

C.      Fair Purchase Price

        37.    The purchase price of $10,300,000 is a fair price for the Property, based on the

extensive marketing of the Property and the absence of any other binding offers being submitted

at any time in the last 5 years (other than the failed transaction with SCP).

D.      Notice of Sale Transaction

        38.    In accordance with the Sale Guidelines, notice of the Motion will be served on all

creditors and interested parties, including any parties known by the Debtor to have expressed an

interest in acquiring the Property.


                                                 13
19-13223-dsj       Doc 38     Filed 01/07/20 Entered 01/07/20 14:43:44              Main Document
                                           Pg 14 of 54



        39.     Furthermore, as described above and in the motion for an expedited hearing on this

Motion, all creditors and interested parties have been aware of the Debtor’s intention to sell the

Property under the Plan, and all parties were served with the Purchase Agreement as an attachment

to the Disclosure Statement, and all parties were served with notice of the Scheduling Confirmation

Hearing for January 14, 2020.

E.      Sale Free and Clear of Liens, Claims, Encumbrances, and Interests

        40.     Pursuant to section 363(f) of the Bankruptcy Code, the debtor may sell estate

property free and clear of any interests in that property if one of the following conditions is met:

“(1) applicable nonbankruptcy law permits sale of such property free and clear of such interest;

(2) such entity consents; (3) such interest is a lien and the price at which such property is to be sold

is greater than the aggregate value of all liens on such property; (4) such interest is in bona fide

dispute; or (5) such entity could be compelled, in a legal or equitable proceeding, to accept a money

satisfaction of such interest.” 11 U.S.C. § 363(f).

        41.     Here, Debtor may sell the Property free and clear of all liens, because the Property

will be sold at a purchase price of $10,300,000, which is greater than the aggregate value of all

liens on the Property.

F.      Good Faith Purchaser Protections

        42.     The Purchaser is a good faith purchaser pursuant to section 363(m) of the

Bankruptcy Code. “A good faith purchaser is one who purchases the assets for value, in good faith

and without notice of adverse claims.” GSC, 453 B.R. at 180 (citing Licensing by Paolo, Inc. v.

Sinatra (In re Gucci), 126 F.3d 380, 385 (2d Cir. 1997)). “A purchaser’s good faith is shown by

the integrity of his conduct during the course of the sale proceedings. Id. at 180 (internal quotations

omitted). “The absence of good faith is shown by fraud, collusion between the purchaser and other




                                                  14
19-13223-dsj       Doc 38      Filed 01/07/20 Entered 01/07/20 14:43:44                Main Document
                                            Pg 15 of 54



bidders or the trustee, or an attempt to take grossly unfair advantage of other bidders.” Id. at 180

(internal quotations omitted).

        43.     In this case, the Purchaser and its principal(s) are third parties that have no relation

or affiliation with the Debtor or its principals. The Purchaser negotiated the Purchase Agreement

at arms’ length and has provided a deposit of $1,030,000 as required under the Purchase

Agreement.

G.      Payment of Mortgage Debt at Closing

        44.     As set forth above, the Debtor also seeks authorization to pay off the Mortgage

Lender at closing without further order of the Court. The Mortgage Lender’s over-secured claim

will continues to accrue default interest and fees until it is paid. The passage of time and accrual

of additional interests and fees would only serve to diminish the proceeds available to distribute to

other creditors. As noted above, after payment of the Mortgage Lender’s claim, there are sufficient

sale proceeds to reserve for the full amount of the Azari secured claim, which is currently the

subject of an adversary proceeding seeking to avoid the obligation underlying the Azari judgment

as a fraudulent transfer. No creditor is prejudiced by the payment of the Mortgage Lender’s claim

at closing; rather, the payment of its claim at closing will inure to the benefit of all general

unsecured creditors. It is respectfully submitted that, payoff of the Mortgage Lender’s claim at

closing of the sale is in the best interest of the Debtor, its estate and its creditors.

H.      Waiver of Stay Under Rule 6004(h)

        45.     Bankruptcy Rule 6004(h) provides that an “order authorizing the use, sale, or lease

of property … is stayed until the expiration of fourteen (14) days after entry of the order, unless

the court orders otherwise.” FED. R. BANK. P. 6004(h). In light of the January 31, 2020 deadline

to close the sale of the Property to the Purchaser, the Debtor requests that the Sale Order be




                                                    15
19-13223-dsj     Doc 38     Filed 01/07/20 Entered 01/07/20 14:43:44           Main Document
                                         Pg 16 of 54



effective immediately upon entry and that the fourteen day stay under Bankruptcy Rule 6004(h)

be waived.

       WHEREFORE, the Debtor respectfully requests that this Court enter an order, in the form

annexed hereto as Exhibit A, granting the relief requested herein, and grant such other relief as

may be just and proper.

Dated: New York, New York
       January 7, 2020

                                                    RUBIN LLC

                                                    By:    /s/ Paul A. Rubin
                                                           Paul A. Rubin
                                                           Hanh V. Huynh

                                                    345 Seventh Avenue, 21st Floor
                                                    New York, New York 10001
                                                    Tel: 212.390.8054
                                                    prubin@rubinlawllc.com
                                                    hhuynh@rubinlawllc.com




                                               16
19-13223-dsj   Doc 38   Filed 01/07/20 Entered 01/07/20 14:43:44   Main Document
                                     Pg 17 of 54




                            EXHIBIT A
                        (PROPOSED ORDER)
19-13223-dsj           Doc 38      Filed 01/07/20 Entered 01/07/20 14:43:44                     Main Document
                                                Pg 18 of 54



UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------x
                                    :
In re:                              :                               Chapter 11
                                    :
WANSDOWN PROPERTIES CORPORATION :                                   Case No.: 19-13223 (SMB)
N.V.,                               :
                                    :
               Debtor.              :
------------------------------------x

ORDER APPROVING THE SALE OF THE DEBTOR’S REAL PROPERTY LOCATED
  AT 29 BEEKMAN PLACE, NEW YORK, NEW YORK TO 29 BEEKMAN CORP.

          Upon the Motion Pursuant to 11 U.S.C. §§ 363 and 365 and Fed. R. Bankr. P. 2002 and

6004 for an Order Approving the Sale of the Debtor’s Real Property [ECF No.                                      ] (the

“Motion”)1 of Wansdown Properties Corporation N.V. (the “Debtor”), and the Affidavit Gholam

Reza Golsorkhi in support of the Motion (the “Golsorkhi Affidavit”) [ECF No. ]; and a hearing

on the Motion having been held before the Court on January 14, 2020 (the “Hearing”); and upon

the Court’s consideration of the Motion and the Golsorkhi Affidavit, the record of the Hearing,

the objections thereto, if any, and the testimony and evidence admitted at the Hearing; and upon

the record of this case; and after due deliberation thereon, and good and sufficient cause

appearing therefor, it is hereby:

          FOUND, CONCLUDED AND DETERMINED THAT:2

          A.       Jurisdiction and Venue. This Court has jurisdiction to consider the Motion

under 28 U.S.C. §§ 157 and 1334. This is a core proceeding under 28 U.S.C. § 157(b). Venue

of these cases and the Motion in this District is proper under 28 U.S.C. §§ 1408 and 1409. The


1
    Unless otherwise defined herein, capitalized terms shall have the meanings ascribed to them in the Motion.
2
  The findings and conclusions set forth herein constitute this Court’s findings of fact and conclusions of law
pursuant to Bankruptcy Rule 7052, made applicable to this proceeding pursuant to Bankruptcy Rule 9014. To the
extent any of the following findings of fact constitute conclusions of law, they are adopted as such. To the extent
any of the following conclusions of law constitute findings of fact, they are adopted as such.
19-13223-dsj      Doc 38      Filed 01/07/20 Entered 01/07/20 14:43:44             Main Document
                                           Pg 19 of 54



statutory and legal predicates for the relief requested in the Motion are Bankruptcy Code sections

105, 363, and 365, Bankruptcy Rules 2002 and 6004, and Rule 6004-1 of the Local Rules for the

United States Bankruptcy Court for the Southern District of New York (the “Local Rules”).

        B.     Notice. As evidenced by affidavits of service previously filed with the Court, and

based on representations of counsel at the Hearing, (i) due, proper, timely, adequate and

sufficient notice of the Motion has been provided to all parties entitled thereto; (ii) such notice

was and is good, sufficient and appropriate under the circumstances of the Chapter 11 Case; and

(iii) no other or further notice of the Motion is or shall be required.

        C.     Arm’s-Length Sale.         The sale of the Property pursuant to the Purchase

Agreement and this Order was negotiated by the Debtor and the Purchaser at arm’s-length,

without collusion or fraud, and in good faith within the meaning section 363(m) of the

Bankruptcy Code.      None of the Debtor, the Purchaser, their respective affiliates, or their

representatives has engaged in any conduct that would cause or permit sale of the Property or the

Purchase Agreement to be avoided under section 363(n) of the Bankruptcy Code, or has acted in

any improper or collusive manner with any person. The terms and conditions of the sale

transaction and the Purchase Agreement, including without limitation, the consideration provided

therein, are fair and reasonable and shall not be avoided under section 363(n) of the Bankruptcy

Code.

        D.     Sale in Best Interests. The relief requested in the Motion is in the best interests

of the Debtor, its estate, its creditors and all other parties in interest. Immediate approval by this

Court of the sale of the Property is necessary and appropriate to maximize the value of the

Debtor’s estate. There is risk of deterioration of the value of the Property if the sale transaction

is not promptly consummated.




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19-13223-dsj      Doc 38     Filed 01/07/20 Entered 01/07/20 14:43:44              Main Document
                                          Pg 20 of 54



       E.      Business Justification. The Debtor has demonstrated both good, sufficient and

sound business reasons and compelling circumstances for the Court to approve the Purchase

Agreement and authorize the Debtor to sell the Property under section 363(b) of the Bankruptcy

Code outside the ordinary course of business. Entry of this Order approving the sale of the

Property is a necessary condition precedent to the Purchaser’s consummation of the sale

transaction.

       F.      Consideration. The purchase price to be provided by the Purchaser pursuant to

the Purchase Agreement (i) represents the highest or otherwise best offer received by the Debtor

for the Property, and (ii) constitutes reasonably equivalent value and fair consideration for the

Property.

       G.      Free and Clear. The sale of the Property to the Purchaser in accordance with the

Purchase Agreement will be a legal, valid, and effective transfer of the Property, and, except as

otherwise provided in the Purchase Agreement, vests or shall vest the Purchaser with all right,

title, and interest of the Debtor in and to the Property pursuant to section 363(f) of the

Bankruptcy Code free and clear of all liens, claims, encumbrances, obligations, liabilities,

demands, guarantees, options, rights, restrictions, contractual commitments, rights of first

refusal, rights of setoff, or interests of any kind or nature that have been, are or could be asserted

against the Debtor or the Property, whether known or unknown, legal or equitable, matured or

unmatured, contingent or noncontingent, liquidated or unliquidated, asserted or unasserted,

whether arising prior to or subsequent to the commencement of the Chapter 11 Case, whether

imposed by agreement, understanding, law, equity or otherwise (collectively, the “Interests”).

       H.      Findings Required by Purchaser. The Purchaser represents that it would not

have entered into the Purchase Agreement and would not consummate the sale transaction, thus




                                                  3
19-13223-dsj      Doc 38     Filed 01/07/20 Entered 01/07/20 14:43:44             Main Document
                                          Pg 21 of 54



adversely affecting the Debtor, its estate and creditors, if (i) the Property is not conveyed to the

Purchaser free and clear of all Interests of any kind or nature as set forth in this Order, or if the

Purchaser would, or in the future could, be liable for any of the Interests, and (ii) unless the

Purchase Documents provide, and the Court so orders, none of the Purchaser or the Property

shall have any liability whatsoever with respect to any Interest or be required to satisfy any

Interest in any manner (whether at law or in equity, by payment, setoff or otherwise, directly or

indirectly). An injunction against creditors and third parties pursuing claims against, and liens,

interests and encumbrances on, the Property is necessary to induce the Purchaser to close the sale

transaction, and the issuance of such injunctive relief is therefore necessary to avoid irreparable

injury to the Debtor’s estate and will benefit the Debtor and its creditors and all other parties in

interest.

        I.     Good Faith Purchaser. The Purchaser has proceeded in good faith and without

collusion in all respects in connection with the sale transaction, the Purchase Agreement, and this

sale proceeding. The Purchaser is, therefore, entitled to all of the benefits and protections of

section 363(m) of the Bankruptcy Code. Accordingly, the reversal or modification on appeal of

the authorization provided herein to consummate the sale of the Property shall not affect the

validity of the sale unless, prior to the Closing (as defined in the Purchase Agreement), such

authorization is duly stayed pending such appeal.

        J.     Satisfaction of Section 363(f) Standards. Pursuant to the terms set forth in the

Purchase Agreement, the Debtor may sell the Property free and clear of any Interests of any kind

or nature as set forth in this Order because in each instance, one or more of the standards set

forth in section 363(f)(1)-(5) of the Bankruptcy Code has been satisfied. Each person or entity

with any Interest in the Property: (i) has, subject to the terms and conditions of this Order and the




                                                 4
19-13223-dsj      Doc 38     Filed 01/07/20 Entered 01/07/20 14:43:44           Main Document
                                          Pg 22 of 54



Purchase Agreement, consented to the sale of the Property, is deemed to have consented to the

sale, or has had its objections to the sale considered and overruled by this Court; (ii) could be

compelled in a legal or equitable proceeding to accept money satisfaction of such Interest;

(iii) has a lien and the purchase price for the Property is greater than the aggregate value of all

liens on the Property; or (iv) otherwise is subject to the provisions of Bankruptcy Code section

363(f).

          K.   No Successor Liability.       Upon the Closing (as defined in the Purchase

Agreement), the Purchaser shall not and shall not be deemed to: (i) be a successor or successor

employer to the Debtor or its estate under any theory of law or equity; (ii) have, de facto or

otherwise, merged or consolidated with or into the Debtor or the Debtor’s estate; (iii) be a mere

continuation or substantial continuation of any the Debtor or any enterprise of the Debtor; or

(iv) be liable for any acts or omissions of the Debtor in the conduct of the Debtor’s business or

arising under or related to the Property other than as set forth in the Purchase Agreement.

Without limiting the generality of the foregoing, and except as otherwise provided in the

Purchase Agreement and this Order, the parties intend that the Purchaser shall not be liable for

any Interest, claim or liability against the Debtor, and the Purchaser shall have no successor or

vicarious liability of any kind or character whatsoever, whether known or unknown as of the

Closing Date, whether now existing or hereafter arising, whether asserted or unasserted, or

whether fixed or contingent, with respect to the business of the Debtor, the Property or any

claims against or liabilities of the Debtor arising prior to the Closing Date. The Purchaser would

not have acquired the Property but for the foregoing protections against potential claims based

upon “successor liability” theories.




                                                5
19-13223-dsj      Doc 38    Filed 01/07/20 Entered 01/07/20 14:43:44            Main Document
                                         Pg 23 of 54



       L.       Assumption of Purchase Agreement.             The assumption of the Purchase

Agreement by the Debtor is in the best interests of the Debtor, its estate, creditors and all other

parties in interest, and represents the reasonable exercise of sound and prudent business

judgment by the Debtor.

       NOW, THEREFORE, IT IS ORDERED THAT:

       1.       Motion is Granted. The Motion and the relief requested therein are GRANTED

and APPROVED, as set forth herein.

       2.       Objections Overruled. Any objections to the entry of this Order or the relief

granted herein and requested in the Motion that have not been withdrawn, waived, settled, or

otherwise resolved as set forth on the record at the Hearing and/or memorialized pursuant to the

terms hereof (if any) hereby are denied and overruled on the merits with prejudice.

       3.       Approval. The Purchase Agreement and all of the terms and conditions therein

are approved.     The Debtor is hereby authorized and directed to (i) assume the Purchase

Agreement; (ii) perform its obligations under and comply with the terms of the Purchase

Agreement and execute and perform any additional agreements, instruments or documents that

may be reasonably necessary or appropriate to implement the Purchase Agreement;

(iii) consummate the sale of the Property in accordance with the terms and conditions of the

Purchase Agreement; and (iv) take all other and further actions as may be reasonably necessary

or appropriate to implement the sale of the Property and perform its obligations under the

Purchase Agreement. The provisions of this Order authorizing the sale of the Property free and

clear of Interests, except as otherwise set forth in the Purchase Agreement or this Order, shall be

self-executing, and neither the Debtor or the Purchaser shall be required to execute or file

releases, termination statements, assignments, consents, or other instruments in order to




                                                6
19-13223-dsj      Doc 38     Filed 01/07/20 Entered 01/07/20 14:43:44              Main Document
                                          Pg 24 of 54



effectuate, consummate and implement the provisions of this Order. However, the Debtor, the

Purchaser, and each of their respective officers, directors, employees, agents, and representatives

are hereby authorized and empowered to take all actions and execute and deliver any and all

agreements, instruments and documents that the Debtor or the Purchaser deem necessary or

appropriate to implement and effectuate the terms of the Purchase Agreement and this Order.

       4.      Valid Transfer. Upon the Closing, (i) the sale transaction effects a legal, valid,

enforceable and effective sale and transfer of all of the Debtor’s rights, title, and interests in the

Property to the Purchaser, and shall vest the Purchaser with all of the Debtor’s rights, title, and

interests in the Property free and clear of all Interests of any kind whatsoever, except as

expressly provided in this Order and the Purchase Agreement, and (ii) the Purchase Agreement,

the sale of the Property, and any agreements, instruments and documents contemplated thereby

shall be enforceable against and binding upon, and not subject to rejection or avoidance by, the

Debtor or any successor trustee appointed with respect thereto.

       5.      Injunction. Except as expressly provided in the Purchase Agreement or by this

Order, all persons and entities, including, but not limited to, all debt security holders, equity

security holders, governmental, tax and regulatory authorities, lenders, vendors, suppliers,

employees, trade creditors, litigation claimants, and other persons, holding Interests of any kind

or nature whatsoever in the Debtor or against the Debtor, or the Debtor’s rights, title, and

interests in the Property (whether known or unknown, legal or equitable, matured or unmatured,

contingent or noncontingent, liquidated or unliquidated, asserted or unasserted, whether arising

prior to or subsequent to the commencement of the Chapter 11 Case, whether imposed by

agreement, understanding, law, equity or otherwise), including, without limitation, those arising

under, out of, in connection with, or in any way relating to the Debtor, the Property, the




                                                  7
19-13223-dsj       Doc 38     Filed 01/07/20 Entered 01/07/20 14:43:44              Main Document
                                           Pg 25 of 54



operation of the Debtor’s business, or the transfer of the Debtor’s rights, title, and interests in the

Property to the Purchaser, shall be and hereby are forever barred, estopped and permanently

enjoined from asserting, prosecuting or otherwise pursuing such Interests against the Property, or

the rights, title, and interests of the Debtor in such Property. Following the Closing, no holder of

an Interest against the Debtor or the Property shall interfere with the Purchaser’s title to or use

and enjoyment of the Property based on or related to such Interests. For the avoidance of doubt,

the foregoing shall not prevent the Debtor from enforcing the terms of the Purchase Agreement

against the Purchaser and/or its successors and assigns.

       6.      No Successor Liability. Upon the Closing, the Purchaser shall not and shall not

be deemed to: (i) be a successor or successor employer to the Debtor or its estate under any

theory of law or equity; (ii) have, de facto or otherwise, merged or consolidated with or into the

Debtor or the Debtor’s estate; (iii) be a mere continuation or substantial continuation of the

Debtor or any enterprise of the Debtor; or (iv) be liable for any acts or omissions of the Debtor in

the conduct of the Debtor’s business or arising under or related to the Property other than as set

forth in the Purchase Agreement. None of the Purchaser or the Property shall have (i) any

liability or responsibility for or be required to satisfy in any manner (whether at law or in equity,

by payment, setoff or otherwise, directly or indirectly) any claim or any Interest against the

Debtor, or (ii) any successor or vicarious liabilities of any kind or character, including, but not

limited to, federal, state or other tax liabilities, U.S. or foreign pension liabilities, or liabilities

based on any theory of antitrust law, environmental law, labor law, alter ego, veil piercing,

continuity of enterprise, mere continuation, product line, de facto merger or substantial

continuity, whether known or unknown, legal or equitable, matured or unmatured, contingent or

noncontingent, liquidated or unliquidated, asserted or unasserted, whether arising prior to or




                                                   8
19-13223-dsj           Doc 38   Filed 01/07/20 Entered 01/07/20 14:43:44            Main Document
                                             Pg 26 of 54



subsequent to the commencement of the Chapter 11 Case, whether imposed by agreement,

understanding, law, equity or otherwise with respect to the Debtor or any obligations of the

Debtor, including, but not limited to, liabilities on account of any taxes arising, accruing or

payable under, out of, in connection with, or in any way relating to the operation of the Debtor’s

business prior to the Closing or any taxes in connection with, or in any way relating to, the

cancellation of debt of the Debtor.

        7.      Assumption of the Purchase Agreement.               Pursuant to section 365 of the

Bankruptcy Code, the Debtor’s assumption of the Purchase Agreement is hereby approved.

        8.      Binding Effect of Order. The terms and provisions of the Purchase Agreement

and this Order shall be binding in all respects upon the Debtor, the Debtor’s estate, the

Purchaser, all creditors of the Debtor, all holders of equity interests in the Debtor, and all other

parties in interest.

        9.      Sale Free and Clear of Interests. This Order (i) shall vest the Purchaser with all

right, title and interest in the Property free and clear of any and all Interests of any kind or nature

whatsoever, except as otherwise provided in the Purchase Agreement or this Order, and (ii) shall

be binding upon and shall govern the acts of all entities, including, without limitation, all filing

agents, filing officers, title agents, title companies, recorders of mortgages, recorders of deeds,

registrars of deeds, administrative agencies, governmental departments, secretaries of state,

federal, state, and local officials, and all other persons and entities who may be required by

operation of law, the duties of their office, or contract, to accept, file, register or otherwise record

or release any documents or instruments, or who may be required to report or insure any title or

state of title in or to any of the Property. Upon the occurrence of the Closing, the Debtor, and all

persons holding an Interest in the Property immediately prior to the Closing are hereby




                                                   9
19-13223-dsj      Doc 38     Filed 01/07/20 Entered 01/07/20 14:43:44           Main Document
                                          Pg 27 of 54



authorized to execute such documents and take all other actions as may be reasonably necessary

to release their Interests in the Property (if any) as such Interests may have been recorded or may

otherwise exist. All recorded Interests against the Property shall be deemed stricken from their

records, official and otherwise.

       10.     Release of Liens. If any person or entity which has filed statements or other

documents or agreements evidencing Interests in the Property shall not have delivered to the

Debtor before the Closing, in proper form for filing and executed by the appropriate parties,

termination statements, instruments of satisfaction, releases of liens and easements, and any

other documents required to document the release of such Interests, the Debtor and the Purchaser

are hereby authorized to execute and file such statements, instruments, releases and other

documents on behalf of such person or entity with respect to the Property. Each and every

federal, state and governmental agency or department and any other person or entity is hereby

authorized and directed to accept any and all documents and instruments in connection with or

necessary to consummate the sale of the Property contemplated by the Purchase Agreement or

evidence the release of Interests in the Property.

       11.     Use of Proceeds. All net proceeds of the sale of the Property, including the

deposit made by the Purchaser, shall be held by Debtor’s special counsel pending further order of

this Court. Notwithstanding the foregoing, however, the Debtor is authorized and directed to

payoff the claim of the Mortgage Lender at Closing from the proceeds of the sale of the Property

without further order of the Court.

       12.     Retention of Jurisdiction. This Court retains exclusive jurisdiction to interpret,

implement, and enforce the terms and provisions of, and to resolve any and all disputes that may

arise under or in connection with, this Order and the Purchase Agreement, all amendments




                                                 10
19-13223-dsj        Doc 38    Filed 01/07/20 Entered 01/07/20 14:43:44          Main Document
                                           Pg 28 of 54



thereto and any waivers and consents thereunder, including, but not limited to, the authority to

(i) compel delivery of the Property to the Purchaser; (ii) interpret, implement and enforce the

provisions of this Order and any related order; and (iii) protect the Purchaser and the Property

against any Interests of any kind or nature whatsoever from which the Property has been sold

free and clear.

       13.        Subsequent Orders and Plan Provisions. Nothing contained in any subsequent

order of this Court (including without limitation, an order authorizing any sale of assets pursuant

to sections 363, 365 or any other provision of the Bankruptcy Code, or a conversion of the

Chapter 11 Case to a case under chapter 7 of the Bankruptcy Code, or a dismissal of the Chapter

11 Case) shall nullify, alter, conflict with or derogate from the provisions of this Order, and the

provisions of this Order shall survive and remain in full force and effect.

       14.        Failure to Specify Provisions. The failure to reference or specifically include

any particular provisions of the Purchase Agreement in this Order shall not diminish or impair

the effectiveness of such provisions, it being the intent of the Court that the Purchase Agreement

and the sale of the Property be authorized and approved in its entirety.

       15.        No Stay of Order. Notwithstanding the provisions of Bankruptcy Rule 6004 or

any applicable provisions of the Local Rules, this Order shall not be stayed for fourteen (14)

days after the entry hereof, but shall be effective and enforceable immediately upon entry. Time

is of the essence in approving the sale of the Property, and the Debtor and the Purchaser may

close the sale of the Property as soon as practicable. Any party objecting to this Order must

exercise due diligence in filing an appeal and pursuing a stay, or risk its appeal being foreclosed

as moot.




                                                 11
19-13223-dsj     Doc 38     Filed 01/07/20 Entered 01/07/20 14:43:44          Main Document
                                         Pg 29 of 54



       16.    Inconsistencies with Prior Orders, Pleadings or Agreement. To the extent this

Order is inconsistent with any prior order or pleading with respect to the Motion in the Chapter

11 Case, the terms of this Order shall govern. To the extent this Order is inconsistent with the

terms of the Purchase Agreement, the terms of the Order shall govern.

Dated: January ___, 2020
                                            Honorable Stuart M. Bernstein
                                            United States Bankruptcy Judge




                                              12
19-13223-dsj   Doc 38   Filed 01/07/20 Entered 01/07/20 14:43:44   Main Document
                                     Pg 30 of 54



                      EXHIBIT B
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                                   Pg 28 of 38
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